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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
_______________________________________
                                        )
ROTHSCHILD BROADCAST                    )
DISTRIBUTION SYSTEMS, LLC,              )          CIVIL ACTION
                                        )          NO. 4:21-10694-TSH
                   Plaintiff,           )
                                        )
                   v.                   )
                                        )
WIZIQ, INC.,                            )
                                        )
                  Defendant.            )
______________________________________ )


     ORDER AND MEMORANDUM ON PLAINTIFF’S MOTION FOR DEFAULT
                     JUDGMENT (Docket No. 13)

                                       February 28, 2022

HILLMAN, D.J.

       On April 26, 2021, plaintiff Rothschild Broadcast Distribution Systems, LLC brought this

action against defendant WizIQ, Inc. for patent infringement. On June 11, 2021, the plaintiff

served the defendant. After the defendant failed to file a responsive pleading, the plaintiff moved

for a default, which the Clerk entered on August 20, 2021. A month later, the plaintiff moved for

a default judgment. (Docket No. 13). For the following reasons, the Court grants the motion.

                                          Background

       In October 2014, the United States Patent and Trademark Office issued U.S. Patent No.

8,856,221 (“the ‘221 Patent”), which the plaintiff, a Texas limited liability company, now owns.

The invention underlying the ‘221 Patent provides a “method and system for on-demand storage

and delivery of media content.” According to the complaint, while prior media delivery systems
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allowed on-demand media providers to charge only flat rates, this invention allows media

providers to charge variable rates based on usage.

       The defendant sells media content storage and delivery systems, including the WizIQ video

conferencing platform. The defendant’s products, like the plaintiff’s invention, store and deliver

media content. The plaintiff alleges that the defendant’s products infringe the ‘221 Patent.

                                          Legal Standard

       An entry of the defendant’s default constitutes an admission of all well-pleaded facts in the

plaintiff’s complaint. See Securities and Exchange Commission v. Esposito, 260 F. Supp. 3d 79,

84 (D. Mass. 2017). Where the plaintiff’s complaint is not for a “sum certain,” the plaintiff “must

apply to the court for a default judgment.” Fed. R. Civ. P. 55(b).

       A court may order a default judgment where the court “has jurisdiction over the subject

matter and parties, the allegations in the complaint state a specific, cognizable claim for relief, and

the defaulted party had fair notice of its opportunity to object.” In re The Home Restaurants, Inc.,

285 F.3d 111, 114 (1st Cir. 2002). Once the court is satisfied of its authority to enter the default

judgment, the court assesses damages. See N.E. Carpenters Central Collection Agency v. Whipple

Construction Inc., 2019 WL 3573483, at *3 (D. Mass. Aug. 6, 2019) (citing G. & C. Merriam Co.

v. Webster Dictionary Co., 639 F.2d 29, 34 n.7 (1st Cir. 1980)).

                                             Discussion

                                           1. Jurisdiction

       The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a). The

Court has personal jurisdiction over the defendant through the defendant’s alleged activities in the

forum state, Massachusetts. Taking as true the plaintiff’s allegations that the defendant offers its

infringing product for sale in Massachusetts, the plaintiff’s claim directly arises from the



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defendant’s activities in the state. See Avocent Hunstville Corp. v. Aten Int’l Co., Ltd., 552 F.3d

1324 (Fed. Cir. 2008) (in the ordinary patent infringement suit, specific jurisdiction is discerned

from the sale of the allegedly infringing product in the forum). By the same token, the defendant’s

contacts with Massachusetts are alleged to be purposeful, not mere happenstance. See Hasbro Inc.

v. Clue Computing Inc., 994 F. Supp. 34, 44 (D. Mass. 1997). Finally, the exercise of personal

jurisdiction over the defendant does not appear to be unreasonable. See M-I Drilling Fluids UK

Ltd. v. Dynamic Air Ltda., 890 F.3d 995, 1002-03 (Fed. Cir. 2018).

                                 2. Cognizable Claim for Relief

       In evaluating a motion for default judgment, the court “may examine a plaintiff’s

complaint, taking all well-pleaded factual allegations as true, to determine whether it alleges a

cause of action.” Ramos-Falcon v. Autoridad de Energia Electrica, 301 F.3d 1, 2 (1st Cir. 2002).

The plaintiff alleges one count of patent infringement under 35 U.S.C. § 271.

       To establish a claim for direct patent infringement under 35 U.S.C. § 271(a), a plaintiff

must show that the defendant “makes, uses, offers to sell, or sells any patented invention” in the

United States. A claim of patent infringement meets minimum pleading standards when it

specifically identifies the accused product and alleges that the accused product meets each element

of at least one claim of the patent. See Disc Disease Solutions Inc. v. VGH Solutions, Inc., 888

F.3d 1256, 1260 (Fed. Cir. 2018); AnywhereCommerce, Inc. v. Ingenico, Inc., 517 F. Supp. 3d 45,

53-54 (D. Mass. 2021); Bio-Rad Labs., Inc. v. 10X Genomics, Inc., 2020 WL 2079422, at *7 (D.

Mass. Apr. 30, 2020).

       Here, the complaint alleges that the defendant’s WizIQ video conferencing platform,

among other associated products, infringe at least claim 7 of the ‘221 Patent. Below are the

elements of claim 7 as compared to the complaint’s corresponding allegations.



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         Claim 7 of the ‘221 Patent                              Plaintiff’s Complaint
A method for storing media content and              “The Product practices a method of storing
delivering requested media content to a             (e.g., cloud storage) media content (e.g.,
consumer device, the method comprising:             conference recording) and delivering
                                                    requested media content (streaming video
                                                    conferencing, recorded videos, chats, texts,
                                                    etc.) to a consumer device (e.g., mobile
                                                    device with WizIQ app or software).” Compl.
                                                    at ¶ 25.
Receiving a request message including media         “The Product necessarily includes a receiver
data indicating requested media content and a       configured to receive a request message
consumer device identifier corresponding to         including data indicating requested media
the consumer device;                                content (e.g., the Product must have
                                                    infrastructure to receive a request to store
                                                    recorded media content or to stream recorded
                                                    media content on a smartphone; additionally,
                                                    the request message must contain data that
                                                    identifies the content to be stored or streamed)
                                                    and a consumer device identifier
                                                    corresponding to a consumer device (e.g., the
                                                    user credentials are used to access the
                                                    contents of the Product).” Compl. at ¶ 26.
Determining whether the consumer device             “The Product necessarily determines whether
identifier corresponds to a registered              the consumer device identifier corresponds to
consumer device; and                                the registered consumer device (e.g., a user
                                                    must be a registered user to access the
                                                    Product’s services).” Compl. at ¶ 27.
If it is determined that the consumer device        “The Product provides for both media
identifier corresponds to the registered            downloads and/or storage, and media
consumer device, then: determining whether          streaming. After a successful login, the
the request message is one of a storage             Product necessarily determines whether the
request message and a content request               request received from a customer is a request
message; and                                        for storage (e.g., recording or storing content)
                                                    or content (e.g., streaming of media content).”
                                                    Compl. at ¶ 28.
If the request message is the storage request       “The Product verifies that media content
message, then determining whether the               identified in the media data of the storage
requested media content is available for            request message (e.g., request to record
storage; and                                        content) is available for storage in order to
                                                    prevent data errors that would result from
                                                    attempting to store content that is not
                                                    available for storage.” Compl. at ¶ 29.


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 If the request message is the content request        “If a customer requests content (e.g., live
 message, then initiating delivery of the             steaming of media content), then a processor
 requested media content to the consumer              within the Product necessarily initiates
 device;                                              delivery of the content to the consumer’s
                                                      device.” Compl. at ¶ 30.
 Wherein the media data includes time data            “The media data includes data and time
 that indicates a length of time to store the         information to identify conference start and
 requested media content; and                         stop times, as well as meeting length. Time
                                                      data may also indicate a length of time to
                                                      store the requested media content (e.g. a user
                                                      is allowed to store media content for a
                                                      retention period configured by the user per
                                                      their subscription level).” Compl. at ¶ 31.
 The first processor is further configured to         “The Product must first determine whether
 determine whether the requested media                the requested media content exists prior to
 content exists; and                                  initiating delivery in order to prevent data
                                                      errors that would result from attempting to
                                                      transmit media content that does not exist
                                                      (e.g., the product must verify that a particular
                                                      requested data is stored in the cloud). Also, a
                                                      user can view the history of media content
                                                      and the processor can identify the existence of
                                                      that particular media content.” Compl. at ¶
                                                      32.
 If the processor determines that the requested       “After the processor determines whether the
 media content exists, the processor is further       requested media content is available, it
 configured to determine whether the                  determines whether there are restrictions
 requested media content is available and             associated with the requested media content
 whether there are restrictions associated with       (e.g., user access restrictions, etc.).” Compl.
 the requested media content that prevent the         at ¶ 33.
 requested media content from being delivered
 to the consumer device.

       The complaint also includes screenshots from the defendant’s website demonstrating how

the defendant’s products align with the elements of claim 7. Thus, accepting as true the well-

pleaded factual allegations -- that the plaintiff owns the ‘221 Patent, and that the defendant is

making, using, selling, offering for sale in the United States a product that infringes the plaintiff’s

patented invention -- the plaintiff’s complaint states a claim for relief. See Zinganything, LLC v.



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Import Store, 158 F. Supp. 3d 668, 672 (N.D.O.H. 2016); Oakley Inc. v. Great L and H Trading

Inc., 2012 WL 1302407, at *2 (C.D. Cal. Oct. 26, 2012).

                                      3. Opportunity to Object

       The plaintiff alleges, on information and belief, that the defendant may be served through

its agent, Corporation Service Company, in Delaware. The plaintiff served the defendant on June

11, 2021. The plaintiff served the defendant again on November 16, 2021. Service was accepted

by Lynanne Gares, a “litigation management services leader” at Corporation Service Company.

To date, the defendant has not filed an answer or otherwise appeared in the action. It appears that

the defendant has had a fair opportunity to object to the entry of a default judgment. The Court is

satisfied that it has the authority to enter a default judgment.

                                             4. Damages

       The “two methods by which damages are usually calculated” in patent infringement cases

are “assessment of actual damages (the profits the patentee lost due to the infringement) or, if

actual damages cannot be ascertained, determination of a reasonable royalty rate.” Trell v. Marlee

Electronics Corp., 912 F.2d 1443, 1445 (Fed. Cir. 1990). “A reasonable royalty ‘may be based

upon an established royalty, if there is one, or if not upon a hypothetical royalty resulting from

arm’s length negotiations between a willing licensor and a willing licensee.’” Id. (quoting Hanson

v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1078 (Fed. Cir. 1983). “A single licensing

agreement, without more, is insufficient proof of an established royalty.” Id. at 1146.

       In an affidavit attached to the motion for a default judgment, plaintiff’s counsel asserts that

according to a website, zoominfo.com, the defendant’s annual revenue is $44 million. Plaintiff’s

counsel also states, upon information and belief, that the defendant has been using technology

covered by the plaintiff’s patent for at least the past four years. Plaintiff’s counsel further avers



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that generally accepted royalty rates for patent licensing are from three to six percent of the

licensee’s gross sales. Based on these figures, plaintiff’s counsel suggests that damages should

equal $1.32 million. Alternatively, plaintiff’s counsel avers that the plaintiff has previously

licensed the patent, for life, for one-time payments ranging from $6,000 to $40,000.1

       The Court finds unpersuasive plaintiff’s assertion that the defendant’s annual revenue is

$44 million. The plaintiff provides only a screenshot from a website, zoominfo.com, which

describes the defendant as being based in North Carolina and headquartered in India -- contrary to

the allegations in the complaint -- and with revenue of $44 million. It is entirely unclear from the

record how the information on zoominfo.com is compiled or derived.

       The Court finds more persuasive plaintiff’s counsel’s averment that the plaintiff has

previously licensed the ‘221 Patent for one-time payments ranging from $6,000 to $40,000.

Following the hearing on this motion, the Court asked the plaintiff to submit information

concerning its ten most recent license agreements involving the ‘221 Patent. After reviewing that

information, the Court finds that a reasonable royalty for the ‘221 Patent in this case is a one-time

payment of $20,000.00. Accordingly, the Court assesses damages in that amount.

                                            Conclusion

       For the reasons stated, the plaintiff’s motion for a default judgment is granted. The plaintiff

shall be awarded a default judgment in the amount of $20,000.00.

SO ORDERED

                                                                           /s/ Timothy S. Hillman
                                                                        TIMOTHY S. HILLMAN
                                                                              DISTRICT JUDGE




       1
         The plaintiff also requests, without elaboration, $10,000 in attorney’s fees and costs. That
request is denied.
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